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                                                       Clerk, U.S. District Court, ILCD




          EXHIBIT A
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                                                     TAMMY WEIKERT, CIRCUIT CLERK
                                                           ROCK ISLAND COUNTY, IL




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           For her Complaint, Plaintiff pleads as follows:

                        INTRODUCTION AND NATURE OF THE ACTION

      1.        Plaintiff is an owner of 21313 River Road North Cordova, IL located within Rock

                Island County, Illinois

      2.        Plaintiff was notified in June of 2022 by 3M that they were mandated to test for

                the presence of PFAS in her private drinking water well as part of their agreement

                with the EPA due to their known discharge, emissions, placement, disposal,

                leakage, spillage, and/or abandonment of PFAS from the Cordova Facility.

     3.         Plaintiff learned that her well tested positive in August of 2022 and confirmatory

                testing results were then done to ensure that this was an accurate and positive test

                which took place in December of 2022. This test confirmed the presence of PFAS

                in her well.

     4.         Plaintiff was diagnosed with Moderately Differentiated Adenocarcinoma of the

                Sigmoid Colon in July of 2022, which can be related to her continued exposure to

                the PFAS in her well from activities of daily living such as showering, doing

                laundry in the water which contaminated the clothing, swimming in her pool,

                soaking in her hot tub, drinking the water, cooking with the water, growing

                vegetables that were irrigated with the water which in turn were then

                contaminated as well.

     5.         Illinois, with a population of approximately 12.67 million people, is the sixth- largest

                state, by population, in the United States.

       6.       Nearly the entirety of Illinois' western boundary is the Mississippi River, with the

few exceptions being where the Mississippi River has changed course over time.
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        7.     The Mississippi River watershed is the fourth largest in the world, with an area of

approximately 1.2 million square miles.

        8.     Illinois has established itself as a leader in protecting the environment and in

identifying, monitoring, and addressing contamination caused by PFAS in Illinois.

       9.      The Illinois Environmental Protection Agency ("Illinois EPA") is an administrative

agency of the State of Illinois, created pursuant to Section 4 of the Act, 4I 5 ILCS 5/4 (2020), and

charged, inter alia, with the duty of enforcing the Act. The Illinois EPA is further charged with

the duty to abate violations of the National Pollutant Discharge Elimination System ("NPDES")

permit program under Section 402(b)(7) of the Federal Clean Water Act ("CWA"), 33 U.S.C. §

1342(b)(7).

        10.    The Illinois Department of Natural Resources ("IDNR") is an administrative agency

of the State of Illinois, created by Section 1-5 of the Illinois Department of Natural

Resources Act, 20 ILCS 801/1-5 (2020), and charged, inter alia, with the duty of enforcing the

Fish and Aquatic Life Code ("Fish Code"), 515 ILCS 5/5-5 (2020), and the Wildlife Code, 520

ILCS 5/1-10 (2020) ("Wildlife Code").

       11.      The Illinois EPA and IDNR are the State of Illinois Natural Resource Trustees.

       12.      PFAS are a group of synthetic chemicals that do not occur naturally in the
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environment and have been in use since the 1940s.

        13.     PFAS are toxic, human-made chemicals that are harmful to the public health, safety,

welfare, and to the environment.

        14.     For purposes of this Complaint, "PFAS" shall include, but not be limited to, the

following compounds:


                                                                      Chemical
                                                                      Abstract
                                                                      Services
    Acronym                    PFAS Analyte Name                                         Formula
                                                                      Registry
                                                                      Number
                                                                    ("CASRN")

                              Perfluoroalkyl Carboxylic Acids ( 'PFCAs")

                     Perfluorotetradecanoic acid                  376-06-7          Cl4HF21O2
 PFTeDA
                     Perfluorotetradecanoate                      365971-87-5       Cl4f21Of

                     Perfluorotridecanoic acid                    72629-94-8        C 13HF2sO2
 PFTrDA
                    Perfluorotridecanoate                         862374-87-6       C 1 3fisOf

                     Perfluorododecanoic acid                     307-55-1          C I 2HFnO2
 PFDoA
                    Perfluorododecanoate                          171978-95-3       C 12FnO2-

                    Peifluoroundecanoic acid                      2058-94-8         C11HF21O2
 PFUnA
                    Perfluoroundecanoate                          196859-54-8       C11F21Of

   EPA 's Per- and Polyfluoroalkyl Substances (PFAS) Action Plan, U.S. EPA (Feb. 2019) at I,
https://www.epa.gov/sitcs/dc fault! tiles/2019-
02/documents/ofasaction plan 021319 508comnliant 1.pelf: PFAS Strategic Roadmap: EPA's Commitment
to Action 2021-2024, U.S. EPA (Oct. 2021) at 5, Julps://www.cpa.gov/system/files/docurnents/2021-I
0/pfas-roadmap final-508.pdf; An Overview of Perfluoroalkyl and Polyfl,uoroalkyl Substances and
interim Guidance, CENTERS FOR DISEASE CONTROL AND PREVENTION (May 7, 2018) at 1,
httns:.;stacks.cdc.u.ov/view cdc 77114.
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               Perfluorodecanoic acid                     335-76-2                Cl0HF19O2
 PFDA
               Perfluorodecanoate                         73829-36-4              C 1 0F19O2-

               Perfluorononanoic acid                     375-95-1                C9HF1102
 PFNA
               Perfluorononanoate                         72007-68-2 •            C9F11O2-

               Perfluorooctanoic acid                     335-67-1                CsHF1sO2
 PFOA
              Perfluorooctanoate                         45285-51-6               CsF1sO2-

               Perfluoroheptanoic acid                    375-85-9                C1HF1302
 PFHpA
              Perfluoroheptanoate                         120885-29-2             CIF 1302-

              Perfluorohexanoic acid                     307-24-4                 CGHF11O2
 PFHxA
              Perfluorohexanoate                         92612-52-7               CGF11O2-

              Perfluoropentanoic acid                    2706-90-3                CsHF9O2
 PFPeA
              Perfluoropentanoate                        45167-47-3               CsF9Of

              Perfluorobutanoic acid                     375-22-4                 C4HF102
 PFBA
              Perfluorobutanoate                         45048-62-2               C4F102-

              Pcrfluoropropionic acid                    422-64-0                 C3HFsO2
 PFPrA
              Perfluoropropionate                        44864-55-3               C3FsO2-

              Trifluoroacetic acid                       76-05-1                  C2HF3O2
 TFA
              Trifluoroacetate                           14477-72-6              . C2F3O2-

                         Perfluoroalkyl Sulfonic Acids ("PFSAs")

              Perfluorooctanesulfonic acid               1763-23-1               CsF11SO3H
PFOS (B,L)
              Perfluorooctanesulfonate                   45298-90-6              CsF11SO3-

              Perfluoroheptanesulfonic acid              375-92-8                C1F1sSO3H
PFHpS
              Perfluoroheptanesulfonate                  146689-46-5             CIF1sS03-
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                Perfluorohexanesulfonic acid                     355-46-4      C6F13S03H
PFHxS (B,L)
                Perfluorohexanesulfonate                         108427-53-8   C&f I3SQ3-

                Perfluropropanesulfonic acid                     2706-91-4     CsHF1103S
PFPeS
                Perfluropropanesulfonate                         175905-36-9   CsF1103S-

                Perfluorobutanesulfonic acid                     375-73-5       C4f9S03H
PFBS
                Perfluorobutanesulfonate                         45187-15-3    C4f9SOf

                Perfluoropropanesulfonic acid                    423-41-6       C3HF103S
PFPrS
                Perfluoropropanesulfonate                        110676-15-8   C3F103S-

                Perfluoroethanesulfonic acid                     354-88-1       C4f9Q4SH
PFES
                Perfluoroethanesulfonate                         108410-37-3   C4f9Q4S-

                Trifluoromethanesulfonic acid                    1493-13-6      CF3S03H
TFMS
                Trifluoromethanesulfonate                        37181-39-8     CF3SQ3-

                                  Fluorotelomer sulfonic acids

                4:2 Fluorotelomer sulfonic acid                  757124-72-4    C&Hsf9Q3S
4:2 FTS
               4:2 Fluorotelomer sulfonate                       414911-30-1   C6H4F9Q3S-

                6:2 Flurotelomer sulfonic acid                   82711-15-7     CsHsF13Q3S
6:2 FTS
                6:2 Fluorotelomer sulfonate                      425670-75-3   CsH4F13Q3S-

                8:2 Flurotelomer sulfonic acid                   39108-34-4     C I 0Hsfl7Q3S
8:2 FTS
               8:2 Fluorotelomer sulfonate                       39108-34-4-   CI0H4f17Q3 S-

                10:2 Flurotelomer sulfonic acid                  120226-60-0   C12HsF2103S
10:2 FTS
                10:2 Fluorotelomer sulfonate                     --             Cl2H4f2103s-
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                          Perfluoroalkane Sulfonamides ("FASAs")

 PFBSA
                Perfluorobutanesulfonamide                   1910057-70-3      C6H3f9NO4S
 FBSA

 PFOSA
                Perfluorooctanesulfonamide                   754-91-6          CsH2F11NO2S
 FOSA

 FBSAA          Perfluorobutane sulfonamide acetic acid      347872-22-4       CGH4f9NO4S

               N-ethyl
 NEtFOSAA                                                    2991-50-6         Cl0HGFI1NO2S
               perfluorooctanesulfonamidoacetic acid

               N-methyl
 NMeFOSAA                                                    2355-31-9         Cl1H6F11NO4S
               perfluorooctanesulfonamidoacetic acid

               2-(N-ethylperfluoro-l-
 EtFOSE                                                      1691-99-2         C12H10F11NO3S
               octanesulfonamido)- ethanol

               2-(N-methylperfluoro-l-
 MeFOSE                                                      24448-09-7        CI1HsF11NO3S
               octanesulfonamido)- ethanol

               Nonafluoro-N,N-bis(2-
 FBSEE diol                                                  34455-00-0        C1H10F9NO4S
               hydroxyethyl)butane-1- sulfonamide

HFBSE
alcohol        Nonafluoro-N-(2-hydroxyethyl)butane-
                                                             34454-99-4        CGH6F9NO3S
               I-sulfonamide
FBSE

 HQ-115        Bis(trifluoi.-omethylsulfonyl)amine          82113-65-3         C2F6NO4S2H

               Perfluorobutane-N-(3-
PBSA           (dimethylamino)propy1)-1-sulfonamide         68555-77-1         C9H13F9N2O2S
               sulfonamido amine

               3- i[3-
PBSA-C1        Dimethylamino)propyl](nonafluorobuta         172616-04-5        Cl2H11NQ4N2S
               ne-l-sulfony 1)aminolpropanoic acid
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                       Per- and Polyfluoroalkyl Ether Carboxylic Acids

                2,3,3,3-tetrafluoro-2-
                                                                13252-13-6     CGHF11O3
                (heptafluoropropoxy)propanoic acid
 HFPO-DA
 (GenX acid)
                2,3,3,3-tetrafluoro-2-
                                                                --             Cc,F11O:i-
                (heptafluoropropoxy)propanate

 DONA           4,8-dioxa-3h-perfluorononanoic acid             1919005-14-4   C 1 0H11N4NaOsS
 (ADONA
 acid)          4,8-dioxa-3h-perfluorononanoate                 --             Cl0H10N4NaOss-

                Butanoic acid, 2,2,3,3,4,4-hexafluoro-4-
                (trifluoromethoxy)-                             863090-89-5    CsHF9O3

 PFECAA
                2,2,3,3,4,4-hexafluoro-4-
                                                                --             Csf903-
                (trifluoromethoxy)-butanoate

                Acetic Acid, 2,2-drfluoro-2-[1,1,2,2-
                tetrafluoro-2-(trifluoromethoxy)ethoxy]-        151772-58-6    CsHF9O4

 PFECAB
                2,2-difluoro-2-[1,1,2,2- tetrafluoro-2-
                                                                --             CsF9O4-
                (trifluorornethoxy)ethoxy]-acetate

                Perfluoro(4-rnethoxybutanoic acid)              863090-89-5    CsHF9O3
 PFECAF
 (PMPA)
                Perfluoro(4-methoxybutanoate)                  --              CsF9Of

                Butanoic acid, 2,2,3,3,4,4-hexafluoro-4-
                [1,2,2,2-tetrafluoro-1-                         801212-59-9    C 1 HF13O3
                (trifluoromethyl)ethoxy]-
 PFECAG
                2,2,3,3,4,4-hexafluoro-4- [1,2,2,2-
                tetrafluoro-1- (trifluoromethyl)ethoxy]-        --             CI Fu03-
                butanoate

                Perfluoro(2-ethoxyethane)sulfonic acid          113507-82-7    C4Hf9O4S
 PFEESA
                Perfluoro(2-ethoxyethane)sulfonate              --             C4F9O4S-

                Perfluoro-3,6-dioxa-4-methy1-7-octene-
 PFESA BP 1                                                     29311-67-9     C1HF13OsS
                1-sulfonic acid
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                 Perfluoro-3,6-dioxa-4-methy1-7-octene-
                                                            --            C1F130ss
                 l-sulfonate

                                            F-538

 11O-            11-chloroeicosafluoro-3-oxaundecane-
                                                            763051-92-9   C10HF20C1SO4
 PF3OUdS         1-sulfonic acid

                 9-chlorohexadecafluoro-3-oxanone-1-
 9C1-PF3ONS                                                 756426-58-1   CsHF IGC1SO4
                 sulfonic acid

                                        Miscellaneous

                 4,4'-(Hexafluoroisopropylidene) diphenol
 Bisphenol AF                                               1478-61-1     ClsH10FGO2


 PFBSi           Perfluorobutanesulfinic Acid               34642-43-8    C4HF9O2S
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This definition also includes any other PFAS that have been, or which are being, discharged,

emitted, placed, disposed of, leaked, spilled, and/or abandoned from the Cordova Facility, even if

not listed above.

        15.     PFAS, as defined in this Complaint, do not include any PFAS that have contaminated

Illinois' environment or natural resources from aqueous film-forming foams ("AFFF") containing

PFOA, PFOS, or any other PFAS compound.

        16.     3M has discharged, emitted, placed, disposed of, leaked, spilled, and/or abandoned

PFAS and PFAS-containing products at and from its Cordova Facility in such a manner that caused

releases of PFAS into the environment at concentrations which are injurious to public health and

welfare and to the environment, which cause or tend to cause pollution in the State of Illinois, and

which damage to the State's natural resources.

        17.     Article XI of the Illinois Constitution, Ill. Const. Article XI, Section 2, provides that,

"[ejach person has the right to a healthful environment. Each person may enforce this right against

any party, governmental or private, through appropriate legal proceedings subject to
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reasonable limitation and regulation as the General Assembly may provide by law."

        18.      As outlined below, Plaintiff brings this action against 3M pursuant to the Illinois

Environmental Protection Act ("the Act") 415 ILCS 5/1, et seq. (2020); the Illinois Department of

Natural Resources Act ("DNR Act") 20 ILCS 801/1, et seq. (2020); and Illinois' laws of negligence,

trespass, public nuisance, and unjust enrichment.

                                                PARTIES

        Plaintiff

        19.      Plaintiff is Donna Deufel.

             Defendant

         20. Defendant 3M Company is a Delaware corporation with its principal place of

 business at 3M Center, St. Paul, Minnesota 55144.

         21. 3M may be served with process through its registered agent, Illinois Corporation

 Service C, 801 Adlai Stevenson Drive, Springfield, IL 62703.

         22.       3M conducts business throughout the United States, including in the State of .

 Illinois.

         23. 3M operates a manufacturing facility along the banks of the Mississippi River at its

 Cordova, Illinois Facility.

       • 25.       The Cordova Facility began operations in 1970.

         26. 3M discharged, emitted, placed, disposed of, leaked, spilled, and/or abandoned

PFAS and/or PFAS-containing products in the State of Illinois at, from, or around the Cordova

Facility and was responsible for activities causing the release of PFAS into the environment at,

from, or around the Cordova Facility.

         27. This conduct has caused past and ongoing injury to Illinois' natural resources,

environment, and public health and welfare.
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       28.      To the extent any act or omission of 3M is alleged in this Complaint, the officers,

directors, agents, employees, or representatives of 3M committed or authorized each such act or
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omission, or failed to adequately supervise or properly control or direct their employees while

engaged in the management, direction, operation, or control of the affairs of 3M, and did so while

acting within the scope of their duties, employment, or agency.

         29.     All references to 3M in this Complaint include any predecessors, successors,

 parents, subsidiaries, affiliates, and divisions of 3M.

                                   JURISDICTION AND VENUE

         30.    This Court has jurisdiction over the subject matter of this action pursuant to Article

 VI, Section 9 of the Illinois Constitution, Ill. Const. Article VT, Section 9.

         31.    Jurisdiction is proper pursuant to 735 ILCS 5/2-209 (2020), because 3M, at all

 relevant times: (i) transacted business in Illinois, (ii) committed tortious actions within Illinois;

 and (iii) owned, used, or possessed real estate within the state of Illinois. See 735 ILCS 5/2-209.

        32.     Venue is proper pursuant to 735 ILCS 5/2-101(1) and (2) (2020), because the

 Cordova Facility is located in Rock Island County, llinois and because the causes of action stated

 herein arose out of underlying activities that occurred at the Cordova Facility located in Rock

 Island County, Illinois.

        33.     3M's connections with the State of Illinois are consistent with the requirements of

the Due Process Clause of the Fourteenth Amendment given that 3M has purposefully availed

itself of the privilege of conducting activities in Illinois, the causes of action arise from 3M's

activities in Illinois, and 3M's activities are substantially connected to Illinois to make the

exercise of jurisdiction over 3M reasonable.

        34.     Plaintiff is a resident of Rock Island County, Illinois.

        35.     Damages Plaintiff seeks are a result of contamination that occurred in Rock Island

County, Illinois from 3M's Cordova Facility.
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                                  THE CORDOVA FACILITY

        36.     From approximately 1970 to the present, 3M has owned and operated the Cordova

Facility.

        37.     At its Cordova Facility, 3M manufactures numerous chemical products, including
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adhesives, resins, fluorochemicals,. And other specialty chemicals.

        38.      The Cordova Facility is located on the banks of the Mississippi River. The

 Cordova Facility is situated on roughly 740 acres, with approximately 1.2 miles of river frontage

 on the Mississippi River.

         39.     3M produced and used several different PFAS analytes at the Cordova Facility that

 had the potential to be discharged, emitted, placed, disposed of, leaked, spilled, and/or abandoned

 at, from, or around the Cordova Facility.

        40.      On information and belief, 3M manufactured and disposed of PFAS and/or PFAS-

 containing products at the Cordova Facility in a manner that caused PFAS to be released into

 Illinois' environment.

        41.      The United States Environmental

 Protection Agency ("US EPA"). has established a

combined lifetime health advisory level for PFOA

and PFOS of 70 parts per trillion ("ppt") ("EPA

Health Advisory Level").

        42.      As further alleged herein, the

Illinois EPA has established health advisories

containing health-based guidance levels for

several PFAS ("Health Advisory Levels").

        43.      As set forth more fully in the

factual allegations below, 3M has detected PFAS

on and around the Cordova Facility at levels

injurious to public health and welfare and to the

environment.
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       44.     As set forth more fully in the factual allegations below, 3M has detected PFAS in

wastewater at, from, and around the Cordova Facility at levels injurious to public health and

welfare and to the environment.

       45.     For example, in June 2020, at one groundwater monitoring well located in the

Cordova Facility's manufacturing area, 3M detected PFOA at 5570 ppt and PFOS at 80,800 ppt.
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        46.     These levels are injurious to public health and welfare and to the environment and

are thousands of times higher than the EPA Health Advisory Level and the Illinois EPA's current

Health Advisory Levels.

        47.     US EPA has also recently detected levels of PFAS in wastewater from the Cordova

Facility at levels exceeding Illinois EPA 's current Health Advisory Levels and the EPA Health

AdvisOly Level.

        48.     For example, in December 2019, US EPA detected PFOS levels of 19,600 ppt and

PFOA levels of 605 ppt in wastewater that would eventually be discharged from the Cordova

Facility directly into the Mississippi River.

        49.     These levels are injurious to public health and welfare and to the environment and

are hundreds of times above both the US EPA Health Advisory Level and the Illinois EPA's

current Health Advisory Levels.

        50.     The PFAS described in the preceding paragraphs emanated from the

Cordova Facility, and Donna now seeks to: (a) hold 3M liable for monetary damages

for the health conditions she has developed due to her exposure to the resulting

contamination; (b) obtain monetary damages for the diminution in her property's values

as a result of the contamination 3M has caused from the PFAS released from the

Cordova Facility; (c) recover monetary damages for the loss of use and enjoyment of

her properties resulting from the PFAS contamination described herein; and (d) obtain

any other equitable relief as appropriate.
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                                         FACTUAL ALLEGATIONS

I.        PFAS are toxic and pose substantial health and environmental risks.

          50.      PFAS are a family of chemical compounds containing strong carbon-fluorine

bonds.'

          51.     PFAS have been used for decades in a wide array of consumer and industrial

products.'

          52.     Among thousands of other uses, PFAS may be used to keep food from sticking to

cookware, to make sofas and carpets resistant to stains, to make clothes and mattresses more

waterproof, and to make some food packaging resistant to grease absorption. 4

          53.     Because PFAS help reduce friction, they are also used in a variety of other

industries, including aerospace, automotive, building and construction, and electronics'

          54.    PFAS are human-made, synthetic chemicals that do not exist naturally in the

environment'

          55.    Known pathways for PFAS to enter the environment include releases to air, land,

surface wat r, and groundwater from industrial processes and facilities and from disposal by

industrial processes and facilities.'

          56.     PFAS are known as "forever" chemicals, because they are extremely persistent in



2 EPA 's Per- and Polyfluoroalky/ Substances (PFAS) Action Plan, supra n. 1 at 9.
 Id. at 1; see also PFAS Strategic Roadmap, supra n. I at 5.
 See Per- and Polyfluoroalkyl Substances (PFAS), U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES
(Aug. 3, 2021), https://ntp.niehs.nih.govAvhatwestudy/topics/pfas/index.html?utm .source-direct&tam
mediurn7prod&utm carnpaign=ntr).2:olinks&utm term=pfas.
 An Overview of Perfluoroalkyl and Polyfluoroalkyl Substances and Interim Guidance, supra n. I at I.
6 See, e.g., EPA 's Per- and Polyfluoroalkyl Substances (PFAS) Action Plan, supra n. 1 at 1; see also PFAS

Strategic Roadmap, supra n. I at 6.
7 See Per- and Polyfluoroalkyl Substances (PFAS), ILLINOIS ENVIRONMENTAL PROTECTION AGENCY

https: www2.illinois.slov epa topics water-imalitviplas P.1 sics default.asp I .-:;(last visited Mar. 12, 2022).
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the environment and resistant to typical environmental degradation processes.

           57.    The persistence of PFAS and their resistance to biodegradation leads to their

accumulation in the environment.'

           58.    PFAS behave differently depending on their makeup, but generally absorb poorly

and tend to be mobile in soil and groundwater systems.

           59.    This combination of properties has been observed to enable PFAS to readily

migrate in soil, groundwater, and surface water.1"

           60.    The pernicious characteristics of PFAS mean that once these chemicals are

released into the environment, they tend to migrate into and can cause extensive contamination

and injury to natural resources and property under the jurisdiction of the State."

           61.    Humans are exposed to PFAS through ingestion of drinking water and

contaminated food, inhalation, dermal contact, and other pathways.12

           62.    PFAS bioaccumulate in the human body and can biomagnify in animals,

particularly fish and "top of the food chain" mammals.13



8 See Keith Matheny, Internal Documents Show 3M Hid PFAS Dangers for Decades, DETROIT FREE
PRESS        (May       9,      2019),      https://www.freep.com/storvinews/local/michi2:an/20
9/05/09/3-m-lawsuit-pfas-water contamination-michigan/3291 156002/.
9   See EPA's Per- and Polyjluoroalkyl Substances (PEAS) Action Plan, supra n. 1 at 9.
1° John A. Simon, Editor's perspective - Per- and polyfluorinated substances pose substantial challenges
to remediation practitioners, 28 THE JOURNAL OF ENVIRONMENTAL CLEANUP COSTS,
TECHNOLOGIES, AND TECHNIQUES 3, 3-7 (2018), https://onlinelibrary,wilev.com/doi/full/
10.1002/rem.2 i547.
" See generally id.
12   See An Overview of Perfluoroalkyl and Polyfluoroalkyi Substances and Interim Guidance, supra n. 1 at
1.
13 See, e.g., Christopher Wanjek, Breast-Fed Babies Show Buildup of Potentially Harmful Chemical, Fox
NEWS (Oct. 16, 2015, 7:13 PM EDT), https://www.foxnews.com/health/breast-fed-babies-show-Imildup:
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             63.      PFAS can even be found in the blood of human infants. 14

             64.      Breast milk appears to be a source of PFAS exposure.15

             65.     Chronic exposure to PFAS at low doses can result in adverse health effects for

humans as well as animals.16

             66.     Exposure to PFAS is connected with a wide array of harmful and serious health

effects in humans and animals, including but not limited to:

                      (a) Liver damage,

                      (b) Altered cholesterol levels,

                      (c) Pregnancy-induced hypertension and/or preeclampsia,

                     (d) Thyroid disease,

                     (e) Modulation of the immune system,

                     (t) Decreased fertility, and

                     (g) Decrease in birth weight.'

          67.        PFAS contamination is a serious threat to human health and State natural resources

and property.

          68.        Pursuant to 35 III. Adm. Code 620.605, the Illinois EPA shall issue a Health

Advisory when there is a confirmed detection in a community water supply well of a chemical

substance for which no numeric groundwater standard exists. The guidance levels contained in a

Health Advisory represent concentrations in drinking water at which no adverse health effects are


14 See Toxicological Profile for Perfluoroalkyls, U.S. DEPT OF HEALTH AND HUMAN SERVICES, AGENCY
FOR      TOXIC      SUBSTANCES     AND    DISEASE   REGISTRY   (May   2021   ),        haps: i 'w.'v'w.atsdr.ccic.govi
toxprofiles/tp200.pdf,
is Id.
161d.

17 See id.
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expected to occur. A Health Advisory can be issued in the absence of standards under Section

620.410, groundwater quality standards, and when "the chemical substance is toxic or harmful to

human health."

         69.     The Illinois EPA must consider the guidance level established in a Health Advisory

when (1) establishing "groundwater cleanup or action levels whenever there is a release or substantial

threat of a release of... [a] hazardous substance or pesticide ... or [o]ther contaminant

that represents a significant hazard to public health or the environment;" (2) determining "whether the

community water supply is taking its raw water from a site or source consistent with the [applicable]

siting and source water requirements;" and (3) developing Illinois Pollution Control


Board ("IPCB") "rulemaking proposals for new or revised numerical standards."' 8


        70.      On January 28, 2021, the Illinois EPA announced Health Advisory Levels for PFBS,

PFHxS, PFHxA, and PFOA.'9 On April 16, 2021, the Illinois EPA announced a new Health Advisory

Level for PFOS and a revised limit for PFBS because the US EPA updated its Provisional

Peer-Reviewed Toxicity Value for PFBS.' On July 27, 2021, the Illinois EPA announced a new

Health Advisory Level for PFNA.

        71.      The current Illinois EPA Health Advisory Levels are listed below.




18 35 Ill. Admin. Code Section 620.601.
19 See Illinois EPA Issues Health Advisoriesfor Per- and Polyjluoroalkyl Substances (PFAS in
Accordance with Illinois Groundwater Regulations, ILLINOIS ENVIRONMENT AL PROTECTION AGENCY,
https://www.illinois.gov/newsipress-release.22728.htrnl (last visited Mar. 13, 2022).
20 See Illinois Issues Health Adviso,yfor Perfluorooctanesii(fonic Acid (PFOS) and an Updated Health
Advisory for Pejluorobittanesulfonic Acid (PFBS), ILLINOIS ENVIRONMENTAL PROTECTION AGENCY (Apr.
16, 2021), https:/iwww2.illinois.go /Pages/news-itcm,aspx?ReleaseID=231 51.
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                                                                           Health Advisory                                Chemical Abstract
                                                                              Level in                                    Services Registry
                               Specific PFAS
                                                                           Nanograms/Liter                                Number (CASRN)
                                                                                (1)Pt)

                                       PFOA                                                2                                  335-67-1

                                      PFHxA                                         560,000                                   307-24-4

                                       PFOS                                               14                                  1763-23-1

                                      PFHxS                                             140                                   355-46-4

                                       PFBS                                           2,100                                   375-73-5

                                       PFNA                                              21                                   375-95-1


72.      On May 12, 2021, the Illinois EPA announced in a Pre-Filing Public Comment Period that it was

         proposing draft language to update its groundwater quality standards in 35 111. Adm. Code 620

         for five PFAS- PFBS, PFHxS, PFOA, PFNA, and PFOS.


             73.        On December 8, 2021, the Illinois EPA filed with the Illinois Pollution Control Board a

 Motion for Acceptance requesting that the Illinois Pollution Control Board accept the proposed

 groundwater quality standards for six PFAS - PFBS, PFHxS, PFOA, PFNA, PFOS, and HFPO-DA.'

 The proposed standards are listed below:


                                                                        Proposed Class I
                                                                          and Class I1                                    Chemical Abstract
                                                                         Groundwater
                              Specific PFAS                                                                               Services Registry
                                                                       Quality Standard in
                                                                                                                          Number (CASRN)
                                                                        Nanograms/Liter
                                                                                      (PPO

                                      PFOA                                                2                                   335-67-1

                                      PFNA                                               12                                   375-95-1

 2I
       See         620        Groundwater                   Quality,             ILLINOIS             ENVIRONMENTAL                PROTECTION   AGENCY.
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                        PFOS                      7.7                           1763-23-1

                       PFHxS                       77                            355-46-4

                        PFBS                     1,200                           375-73-5

                     HFPO-DA                       12                           13252-13-6


        74.     Because PFAS are persistent in the environment, unless PFAS are actively cleaned

up from contaminated natural resources and property under the jurisdiction of the State, these

chemicals will remain within the State and continue to contaminate natural resources and

property under the jurisdiction of the State indefinitely.

II.     3M manufactured and used PFAS at the Cordova Facility with full knowledge of
        PFAS health and environmental risks, which 3M intentionally hid from the public and
        the State.

        75.     3M negligently operated its Cordova Facility such that it allowed the discharge,

emission, placement, disposal, leakage, spillage, and/or abandonment of PFAS from the Cordova

Facility in such a way as to cause harm to the State's environment and natural resources.

        76.     3M has known for decades that PFAS are toxic and pose substantial health and

environmental risks.

        77.     Notwithstanding that knowledge, 3M persistently and intentionally hid this

information from Illinois and the public.

        78.     As early as the 1950s, 3M's internal animal studies found that PFAS are "toxic,"

and this finding was confirmed in further studies throughout the late 1970s and I 980s.22

       79.      By the 1960s, 3M knew that perfluorochemicals, a subgroup of PFAS, are stable



  Lori Swanson, Former Attorney General of Minnesota Testimony Before the Committee on Oversight and
Reform, Subcommittee on Environment, United States House of Representatives (Sept. 1 0, 2019), at 3- 4,
      www.cong:rcss.izov/ I I 6/mcctineihousc/I    09902/witnesscs!HHRG- I 16-GO'?8-1"/statc-SwansonL-
2019091 O.pdf (hereinafter referred to as "Swanson Testimony").
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and persist in the environment and do not degrade. 23

         80.       3M conducted studies in the 1970s that confirmed that PFOS is toxic to a variety

of aquatic wildlife, including various fish species and aquatic invertebrates.'

         81.       In 1975, Dr. Warren Guy and Dr. Donald Taves, two independent scientists, found

PFAS in human blood banks across the country and contacted 3M to inform them that they

thought 3M chemicals might be to blame and to inquire whether fluorocarbon carboxylic acids

were present in items in use by the public, like Scotchgard.25

         82.       A 3M memorandum documenting the call noted that 3M "plead ignorance" and

refused to identify the chemicals in Scotchgard.26

         83.       3M conducted its own study like the study performed by Drs. Guy and Taves and

confirmed that PFAS were present in human blood.27

         84.      3M conducted multiple studies throughout 1975 and 1976 that confirmed the

presence of PFAS in blood of the workers who handled PFAS at levels between 50 to 1000 times

higher than "normal" levels.'

         85.       Despite this, in 1976, 3M lawyers urged 3M not to disclose that the "true identity"

of the chemical in the blood was PFOS.29

         86.       By the late 1980s, 3M employees were questioning 3M's advertisement that PFAS

chemicals were biodegradable.


23 Swanson Testimony, at 3.
24 Swanson Testimony, at Exhibit K.


25 Swanson     Testimony, at Exhibit D..
26 Id.


27 Swanson Testimony, at Exhibit E.
zs Id.

29 Swanson Testimony, at Exhibit F.
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           87.      In a December 1988 email, a 3M employee sent an email to other 3M employees

stating "1 don't think it is in 3M's long-term interest to perpetuate the myth that these

fluorochemical surfactants are biodegradable. It is probable that this misconception will eventually be

discovered, and when that happens, 3M will likely be embarrassed, and we and our customers may be

fined and forced to immediately withdraw products from the market."'

           88.     By 1993, 3M was aware that there was some evidence that lactating goats transferred

PFAS to their kids in milk and it was likely that a similar phenomenon would occur in humans.31

           89.     In 1997, 3M provided DuPont with a Material Safety Data .Sheet for FC-118 Fluorad

Brand Fluorochemical Surfactant, which included a warning that stated: "CANCER: WARNING:

Contains a chemical which can cause cancer. (3825-26-1) (1983 and 1993 studies conducted jointly

by 3M and DuPont)."'

          90.     3825-26-1 is the Chemical-Abstract Services Registry Number ("CASRN") for

Pentadecafluorooctanoic acid ammonium salt, which is a chemical form of PFOA.

          91.     In 1998, a 3M scientist, Dr. Richard Purdy conducted a risk assessment of potential

adverse effects on marine mammals from PFOS in the food chain and informed 3M of his findings

that there was a significant risk of harm of food chain transfer, and that "the levels we are seeing in

eagles and other biota is likely to climb each year.""

          92.      Despite all of this knowledge, 3M continued to manufacture and dispose of PFAS


     Swanson Testimony, at Exhibit H.
31   Swanson Testimony, at 5.
32   Swanson Testimony, at Exhibit A.
33 Richard E. Purdy, Email to Ge0ljean Adams re: Risk to the environment due to the presence of

PFOS
(Dec. 3, 1998, 11:53 AM), https:i static.ewg.orgfrepmls 2019,111 Himelineil998 Food-Chain.pdf
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at multiple facilities, including the Cordova Facility.

           93.     More troubling, 3M actively engaged in a campaign to promote perfluorochemicals

as safe to manufacture and use and to distort scientific evidence concerning potential harms

associated with perfluorochemicals.

           94.     3M hired Dr. John P. Giesy, a professor and academic journal editor, to review

several studies of chemicals before they were published and paid him a considerable amount of

money in exchange for his services.'

           95.     Dr. Giesy would share manuscripts of potentially harmful studies with 3M before

they were published and advised 3M to "keep 'bad' papers out of the literature otherwise in

litigation situations they can be a large obstacle to refute."35•

           96.     Dr. Giesy informed 3M that he made sure his timesheets were written in a way so

that "there was no paper trail to 3M."36

           97.     In 1999, the 3M scientist who conducted the study about movement of PFAS

through the food chain, Dr. Richard Purdy, was so outraged by 3M's actions related to PFAS that

he resigned in protest and copied US EPA on his resignation letter stating that he could "no

longer participate" in a 3M process that put "markets, legal defensibility and image over

environmental safety."37

           98.     Dr. Purdy further stated in his letter that "Perfluorooctanesulfonate is the most

insidious pollutant since PCB. It is probably more damaging than PCB because it does not


34   Swanson Testimony, at 6.
35 Swanson Testimony, at Exhibit L
36 M.


37   Swanson Testimony, at Exhibit B.
                 4:24-cv-04174-JEH    # 1-1  Filed:
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 degrade."38

           99.     Dr. Purdy further stated in his letter that "3M continues to make and sell these

 chemicals though the company knows of an ecological risk assessment I did that indicates there

 is a better than 100% probability that perfluorooctanesulfonate is biomagnifying in the food chain

and harming sea mammals ... 3M told those of us working on the fluorochemical project not to

write down our thoughts or have email discussions on issues because of how our speculations

could be viewed in a legal discovery process."

           100.    3M has earned extraordinary profits from its PFAS manufacturing business.

           101. In 2000, when 3M agreed to stop making forms of PFAS under pressure from the

US EPA, it was making almost $500,000,000 per year from these types of products.'

           10 2.    In 2006, EPA fined 3M $1.5 million for its withholding of studies about the

toxicity of PFAS that were required to be reported under the Toxic Substances Control Act.40

           102. Despite its explicit knowledge of the dangers of PFAS, 3M deliberately and

intentionally concealed the dangers of PFAS from governmental entities, including the State of

Illinois and its agencies, and the public at large to protect profits and avoid public responsibility

for injuries and damage caused by their toxic products.

           103. To this day, 3M continues to actively deny the adverse effects on the environment

and human health caused by PFAS contamination, stating on its company webpage that "[t]he

weight of scientific evidence from decades of research does not show that PFOS or PFOA causes


3s Id.


39 Swanson Testimony, at 2.

40 Id. at 5.
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 harm in people at current or past levels."41

         104. 3M's negligent, intentional, and reckless actions have contaminated property and

 natural resources under the jurisdiction of the State at and around the Cordova Facility, harmed

 prope 1 iy and natural resources under the jurisdiction of the State at and around the Cordova

 Facility, and placed Illinois residents at risk.

VIII.    PFAS contamination at the Cordova Facility.

         105. At all relevant times, 3M manufactured PFAS at the Cordova Facility, discharged

 PFAS-containing waste directly into the Mississippi River, disposed of PFAS-containing sludge

 from its wastewater treatment plant ("WWTP"), emitted airborne PFAS, and spilled and leaked

 PFAS from containers, piping systems, tanks, and the wastewater treatment process, all of which

 resulted in significant contamination of surface waters, groundwater, drinking water, wetlands,

 soil, sediment, and air at and around the Cordova Facility.

         106. 3M's operations that have resulted in the discharge of PFAS and PFAS-containing

 waste into the surrounding surface waters, groundwater, drinking water, wetlands, soil, sediment,

 and air at and around the Cordova Facility continue to this day.

         107. 3M discharges untreated, non-contact cooling water that is contaminated with

 PFAS into the Mississippi River.

        108. Stormwater contaminated with PFAS from the Cordova Facility migrates into

groundwater and also flows into the Mississippi River.

        109. June 2020 sample results for Monitoring Well 3-94, which is a 3M groundwater

monitoring well located in the Cordova Facility's manufacturing area, indicated that PFAS levels


41See 3M's Commitment to PFAS Stewardship, 3M, hHps:i www.3m.comi3M:en US pfr Is-stewardship
us.health-sciencci (last visited Mar. 13, 2022).
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were significantly higher than the Illinois EPA's current Health Advisory Levels and proposed

 groundwater quality standards.'


                               June 2020 Sample                Proposed                 Health Advisory
                                   Result in                Groundwater                    Level in
     Specific PFAS
                               Nanograms/Liter            Quality Standard in           Nanograms/Liter
                                     (ppt)                 Nanograms/Liter                   (ppt)
                                                                 WO

          PFOA                        5,570                          2                           2

          PFOS                        80,800                        7.7                          14

           PFBS                      353,000                       1200                        2100


         110.   The June 2020 sample results for Monitoring Well 3-81, which is another 3M

groundwater monitoring well located in the Cordova Facility's former sludge incorporation area,

indicated that PFAS levels were significantly higher than the Illinois EPA's current Health Advisory

Levels and proposed groundwater quality standards.


                              June 2020 Sample                 Proposed                 Health Advisory
                                  Result in                 Groundwater                    Level in
     Specific PFAS
                              Nanograms/Liter             Quality Standard in           Nanograms/Liter
                                    (ppt)                  Nanograms/Liter                   (ppt)
                                                                  (PIA)

          PFOA                        6,650                         2                            2

          PFOS                       62,800                        7.7                          14


        111.    3M's wastewater discharge sampling also demonstrates that levels of PFAS in its

wastewater are injurious to public health and welfare and to the environment.

        112.      For example, in 2020, PFOA, PFOS, and PFNA were found at elevated levels in


4'
  3M ' s annual monitoring result reports only include groundwater sampling results for the following Pf AS

compounds: PFBA, PFOA, PFBS, PFHxS, PFOS. and PFNA.
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wastewater from Outfall 001, an outfall with an average discharge of 8.1 million gallons per day

of wastewater.


                                                      Sample Result in
                               Specific PFAS          Nanograms/Liter
                                                           (ppt)

                                   PFOA                      583

                                   PFOS                    17,300

                                   PFNA                      946


        113. In addition to the sampling performed onsite at the Cordova Facility, 3M also

completes annual sampling of residential wells located close to the Cordova Facility.

        114. 3M has detected significant levels of PFAS in groundwater in nearby areas around

the Cordova Facility. These include one of the properties owned by the Plaintiff.

        115. 3M has detected concentrations of PFBA at nearly every residential well sampled

during every year that sampling has occurred.

        116. The detection methods that 3M historically used for PFOA, PFBS, PFHxS, and

PFOS were not USEPA approved methods and were not sufficiently precise and low enough to

determine if the water tested from each residential well had detections above the Illinois EPA's

current Health Advisory Levels and proposed groundwater quality standards.

        117.    For example, the laboratory's detection limits used up until the 2020 sampling were

0.0240 ppb for PFOA and 0.0232 ppb for PFOS, which convert to 24 ppt and 23.2 ppt,

respectively.

       118.     The Illinois EPA Health Advisory Level for PFOA is 2 ppt, and the Illinois EPA

Health Advisory Level for PFOS is 14 ppt.

       119.       Similarly, the Illinois EPA's proposed groundwater standards for PFOA and
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PFOS are 2 ppt and 7.7 ppt, respectively.
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         120.   It was not until 2020 that the laboratory 3M retained to analyze the residential well

 results used a sufficiently sensitive detection limit to compare the results to the Illinois EPA's

 current Health Advisory Levels and proposed groundwater standards.

        121.    The 2020 residential well results show that multiple residential wells had sample

results that exceeded the Illinois EPA's current Health Advisory Levels and proposed

groundwater standards.

        122.    For example, the PFOA results in Residential Wells 23321 and 22610 were 5. 1 ppt

and 10 ppt, respectively, which exceeds the Illinois EPA's current Health Advisory Level and

proposed groundwater objective of 2.0 ppt.

        123.    On December 28, 2012, the Illinois EPA issued NPDES Permit No. TL0003140

("NPDES Permit"), which required quarterly monitoring of fourteen PFAS, including:

Perfluorobutanoic Acid ("PFBA".); Perfluoroundecanoic Acid ("PFUnA"); Perfluoropentanoic

Acid ("PFPeA"); Perfluorododecanoic Acid ("PFDoA"); Perfluorohexanoic Acid ("PFHxA");

Perfluorotridecanoic       Acid      ("PFTrDA");        Perfluoroheptanoic          Acid   ("PFHpA");

Perfluorobutanesulfonate ("PFBS"); Perfluorotanoic Acid ("PFOA"); Perfluorohexanesulfonate

("PFHeS");      Perfluorononanoic     Acid     ("PFNA");     Perfluorooctanesulfonate          ("PFOS");_

Perfluorodecanoic Acid ("PFDA"); and Perfluorooctanesulfonamide ("PFBSA").

        124.    3M informed US EPA in November 2019, and the Illinois EPA in January 2020,

that 3M "had not fully characterized its PFAS discharge in its NPDES Permit for the Cordova

Facility."43 3M has indicated the need to include additional PFAS analytes in the NPDES

monitoring program since it did not include PFAS identified from a 2015 analysis in its NPDES


43  3M SEC Form 10-Q for the Quarter(v Period that ended March 31. 2020, 3M,
https:11s24.q4cdn.coni 83403 1268 tiles/doc financials/20204i°' -2020-10-0 ..Q.QJ (last visited Mar. 13,
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monitoring.

         125.    In an earnings conference• call in January 2020, Mike Roman, 3M's Chairman and

Chief Executive Officer, noted that 3M had discovered a PFAS discharge issue at its Cordova

facility.44

         126. In December 2019, US EPA conducted a Clean Water Act and Resource

Conservation and Recovery Act inspection of the Cordova Facility.

         127. As part of this inspection, the US EPA took water and wastewater samples from

several different locations at the Cordova Facility and tested the samples for 36 target PFAS

analytes.

         128. The results from US EPA's December 2019 sampling demonstrate that multiple

PFAS analytes were detected at levels injurious to public health and welfare and to the

environment and at orders of magnitude above the Illinois EPA's current Health Advisory Levels

and proposed groundwater standards and the US EPA Health Advisory Level.

         129. US EPA's inspection report notes that the samples "show the discharge of elevated

concentrations of several PFAS to the Mississippi River and the discharge of several PFAS that

are not listed in 3M Cordova's NPDES Permit and, therefore, not monitored for in the discharge."

         130. For example, US EPA collected samples from the production wellfield water,

which is used for process water purposes and as once-through non-contact cooling water, and

then discharged as untreated non-contact cooling water to the Mississippi River via Outfall 001 at

an average flow of 8.1 million gallons per day. The samples contained elevated levels of PFOA,

PFOS, PFHxS, and PFNA. .

44
   Sylvia Carignan, 3M Hit with $214 Million in PFAS Litigation Costs in Three Months; BLOOMBERG LAW
(Jan.     28,     2020),     https: news.bloomberglaN% .comienvironment-and-energvi 3m-hit-witEr-I 14-million-in.
peas-litigation-costs-in-three-months.
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                                                     Sample Result in
                               Specific PFAS         Nanograms/Liter
                                                          (PPO

                                  PFOA                      907

                                   PFOS                    24,400

                                  PFHxS                    1,610

                                  PFNA                     1,210


        131. US EPA also collected samples from impounded wastewater and stormwater at

Outfall 004 and outlet/outfall B. US EPA noted in its inspection report that "[w]hile the following

results are of impounded wastewater/stormwater and not of actual discharge events, the elevated

concentrations of PFAS in the impounded wastewater/stormwater provide an indication of PFAS

levels in stormwater runoff from two facility drainage areas, that could be released and

discharged to the Mississippi River or percolate into the groundwater." The samples contained

elevated levels of PFOA, PFOS, PFHxS, and PFNA.


                                                     Sample Result in
                                                     Nanograrns/Liter
                              Specific PFAS
                                                       (Outfall 004,
                                                     Outlet/Outfall B)
                                                           (PPO

                                  PFOA                 84.5 and 136

                                  PFOS                4,830 and 5,120

                                  PFHxS                138 and 224

                                  PFNA                 59.1 and 13.1

       132.     The US EPA also collected three samples during the inspection from Outfall 001,

which discharges into the Mississippi River at an average flow of 8.1 million gallons per day. All

three samples resulted .in PFAS levels orders of magnitude above the US EPA Health Advisory
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and the Illinois EPA's current Health Advisory Levels for multiple PFAS compounds. The

samples contained elevated levels of PFOA, PFOS, PFHxS, and PFNA.


                                                    Sample Result in
                              Specific PFAS         Nanograms/Liter
                                                         WO

                                 PFOA                      605

                                  PFOS                   19, 00

                                 PFHxS                    1,070

                                 PFNA                      684



       133.   Finally, the US EPA also collected samples of the treated process wastewater at

Outfall A01 at the Cordova Facility from four different locations. As noted in EPA's Inspection

Report, "[f]ollowing the discharge of treated wastewater from outfall AO1, no further treatment

of the wastewater occurs, only the mixing of wastewater with facility non-contact cooling water

and the subsequent discharge to the Mississippi River." The samples contained elevated levels of

PFOA, PFOS, PFHxS, and PFNA.



                                                    Sample Result in
                             Specific PFAS          Nanograms/Liter
                                                        (PPO

                                 PFOA                      829

                                 PFOS                    11,600

                                 PFHxS                    2,260

                                 PFNA                      864


       134.   US EPA's inspection report also notes that 3M has discharged PFAS into the

Mississippi River from outfalls that were not listed in the Cordova Facility's NPDES Permit.
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         135. 3M's own sampling results confirm EPA's inspection findings that 3M continues to

  discharge elevated levels of PFAS into the Mississippi River.

         136.     3M's Discharge Monitoring RepOli for the fourth quarter of 2021 demonstrates that

• 3M continues to discharge elevated PFAS levels into the Mississippi River to this day.

         137. The chart below includes 3M's quarterly average and quarterly maximum sampling

  results for PFOA, PFOS, PFNA, and PFHxS for the fourth quarter of 2021:


                  Specific PFAS              Quarterly Average in               Quarterly Maximum in
                                             Nanograms/Liter (ppt)              Nanograms/Liter (ppt)

                      PFOA                             221                               232

                      PFOS                            4,480                             4,680

                      PFNA                             179                              1.82

                      PFHxS                            460                               482


         138. On September 23, 2021, the Illinois EPA disapproved 3M's 2020 Annual Per- and

 Polyfluoroalkyl Substances (PFAS) Monitoring Report for the 3M Cordova, IL Facility, June

 2021.

         139. In its disapproval letter, the Illinois EPA referenced the residential well sample

 results that were above the Illinois EPA's current Health Advisory Levels and proposed

 groundwater quality objectives.

         140.     The Illinois EPA also referenced the following statement made by 3M in Section

 5.5 of 3M's 2020 Report:

         Accordingly, based on the extensive characterization of Site .conditions that has
         been, and continues to be conducted, and the fact that no exposure pathways of
         concern have been identified, the establishment of a Groundwater Management
         Zone ("GMZ") as approved by the Illinois EPA, is confirmed as an effective and
         appropriate remedial action.

         141.     In response to this statement, the Illinois EPA stated in. its disapproval letter that
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 "the establishment of a GMZ is not considered a remedial action" and "[a] GMZ is part of the

 Remedial Action Plan (RAP) and works in concurrence with approved remedial actions." The Illinois

 EPA stated that to continue the GMZ, "a Remedial Action Plan (RAP) proposing a remedy to address

 the soil and groundwater contamination identified in the site investigation is required, pursuant to 35

 Ill. Adm. Code 740.530."

         142.    At the time of the filing of this Complaint, 3M has not officially submitted a plan that

 satisfies the Site Remediation Program requirements.

         143.    3M's operations at the Cordova Facility have resulted in PFAS migrating and

 continuing to migrate into the environment, including, but not limited to, surface water, groundwater,

 drinking water, wetlands, soils, sediments, air, fish, and wildlife at and around the Cordova Facility in

 a manner that has caused or tended to cause pollution in the State of Illinois.

         144.   The extent of 3M's contamination has not been fully identified, and the State

 reasonably anticipates further testing will reveal additional surface water, groundwater, drinking

 water, wetland, soil, sediment, air, fish, and wildlife contamination at and around the Cordova Facility

 due to 3M's historical and current operations.


IX.      State natural resource and property damage.

         145.   PFAS contamination at and around the Cordova Facility has injured the State's natural

 resources and/or adversely impacted its beneficial public trust uses including those for drinking water,

 recreation, fishing, agriculture, and other uses.

         146.   PFAS contamination at and around the Cordova Facility has substantially damaged the

 intrinsic value of these State natural resources.

         147.   Illinois and its residents have been deprived of the full use, enjoyment, and benefit of

the State's public trust resources, and the intrinsic value of such State natural resources, and have been

substantially harmed by PFAS contamination, as identified above.
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         148.   The State's natural resources and property at and around the Cordova Facility will

 continue to be harmed and injured for the foreseeable future by the ongoing release and/or spread of

 PFAS, as identified above.

         149.   3M's acts and/or omissions have caused and/or contributed to cause PFAS

 contamination, as identified above.

        150.    Each of the State's natural resources 1 s precious, limited, and invaluable, as described

 in more detail below.

X.     Groundwater.

         151.   The State's public policy for groundwater is set forth in Section 2 of the Illinois

Groundwater Protection Act.

        (a)      The General Assembly finds that:

        (i)   a large portion of Illinois' citizens rely on groundwater for personal
        consumption, and industries use a significant amount of groundwater;

        (ii)   contamination of Illinois groundwater will adversely impact the health
        and welfare o,f its citizens and adversely impact the economic viability o,f the
        State;

        (iii) contamination of Illinois' groundwater is occuring;

        (iv)     protection of groundwater is a necessityfo_rfuture economic development
        in this State.

        (b)      Therefore, it is the policy of the State of Illinois to restore, protect, and
        enhance the groundwaters of the State, as a natural and public resource. The State
        recognizes the essential and pervasive role of groundwater in the social and economic
        well-being of the people of Illinois, and its vital importance to the general health,
        safety, and welfare. It is further recognized as consistent with this policy that the
        groundwater resources of the State be utilized for beneficial and legitimate
        purposes; that waste and degradation of the resources be prevented; and that the
        underground water resource be managed to allow for maximum benefit 0.1 the
        people of the State of Illinois.

        415 ILCS 55/2 (2020) (Emphasis added).
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         152. Groundwater resources can be exposed to PFAS contamination in several ways,

 including when infiltrating precipitation transports surface contaminants from soils through the

 unsaturated zone and into shallow groundwater.

        153. 3M has contaminated and injured the State's groundwater at and around the

 Cordova Facility with PFAS and PFAS-containing waste.

        154. 3M has contaminated and injured groundwater sources and residential wells in

 locations at and around the Cordova Facility with PFAS and PFAS-containing waste.

        155. Ongoing additional testing continues to reveal further PFAS contamination and

 injury of groundwater at and around the Cordova Facility. It is virtually certain that additional

 testing will reveal further PFAS contamination of, and injury to, groundwater.

XI.    Surface waters.

        156.    Section 11 of the Act, 415 ILCS 5/11 (2020), provides, in pertinent part, as follows:

        § 11. (a) The General Assembly finds:

        (1) that pollution of the waters of this State constitutes a menace to public health
        and welfare, creates public nuisances, is harmfulto wildlife, fish, and aquatic life,
        impairs domestic, agricultural, industrial, recreational, and other legitimate
        beneficial uses of water, depresses property values, and offends the senses;

                               *              *

        (c) The provisions of this Act authorizing implementation of the regulations
        pursuant to an NPDES program shall not be construed to limit, affect, impair, or
        diminish the authority, duties. and responsibilities of the Board, Agency,
        Department or any other governmental agency or officer, or of any unit of local
        government, to regulate and control pollution of any kind, to restore, to protect or
        to enhance the quality of the environment, or to achieve all other purposes, or to
        enforce provisions, set forth in this Act or other State law or regulation.

        157. Surface waters are precious, limited, and invaluable State natural resources that are

used for drinking water, irrigation, recreation such as swimming and fishing, and ecological and

other important purposes.
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         158.   State natural resources, including surface waters, are vital to the health, safety, and

 welfare of Illinois residents, and to the State's economy and ecology.

         159.   Surface water, such as lakes, rivers, and wetlands, can receive groundwater inflow and

 recharge groundwater. The movement of water between groundwater and surface-water systems leads

 to the mixing of their water qualities.

         160.   3M has contaminated and injured the State's surface water at and around the Cordova

 Facility with PFAS and PFAS-containing waste.

         161.    Ongoing additional testing continues to reveal further PFAS contamination and

 injury of surface waters at and around the Cordova Facility. It is virtually celiain that additional Jesting

 will reveal further PFAS contamination of, and injury to, surface waters..


XII.    Wetlands.

         162.   Wetlands are highly productive, biologically diverse, precious, limited, and invaluable

 State natural resources that enhance water quality, control erosion, maintain stream. flows, sequester

 carbon, and provide a home to at least one third of all threatened and endangered species, playing an

 important role in ecological health, drinking water, ilTigation, agriculture, and other purposes.

         163.   State natural resources, including wetlands, are vital to the health, safety, and welfare

 of Illinois residents, and to the State's economy and ecology.

         164.   Multiple areas in and near the Cordova Facility are listed on the National Wetlands

 Inventory.

         165.   Wetlands can receive groundwater inflow and recharge groundwater. The movement of

water between groundwater and surface-water systems such as wetlands can lead to the mixing of

their water qualities.
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         166.     Ongoing additional testing continues to reveal further PFAS contamination. It is

 virtually certain that additional testing will reveal PFAS contamination of and injury to, wetlands

 at and around the Cordova Facility.


VII.    Wildlife, aquatic life, soils, and sediment.

         167.     Wildlife, aquatic life, soil, and sediments are precious, limited, and invaluable

 State natural resources.

         168.     3M has contaminated and injured the State's wildlife, aquatic life, soil, and

 sediments at and around the Cordova Facility.

         169. Agriculture is one of Illinois' largest industries, contributing billions of dollars

 annually to Illinois' economy.

         170.     Illinois' wildlife and aquatic life are used for food and recreational purposes and

 provide a significant economic benefit to the State, including through tourism and recreation.

         171.             Injuries to wildlife and aquatic life affect not only individual wildlife and

 aquatic life, but also the entire ecosystem of which they are a part.

         172.     Ongoing additional testing continues to reveal fmiher PFAS contamination and

 injmy of agricultural operation_s, wildlife, aquatic life, soils, and sediment at and around the

 Cordova Facility. It is virtually certain that additional testing will reveal further PFAS

 contamination of, and injury to, soils, sediments, wildlife, and aquatic life.


XIII.   The PFAS contamination caused by 3M must be remediated.

        173.      The State seeks, in part, to: (a) hold 3M liable for monetary damages for the cost

of identifying, monitoring, and remediating contamination caused by the release of PFAS from

3M's Cordova Facility and all damages to the State's environment and its natural resources

because of the resulting contamination; and (b) obtain injunctive relief requiring 3M to take
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to prevent ongoing contamination and to remediate the areas contaminated and restore resources

injured or impacted by PFAS released from the Cordova Facility.

        174.     Illinois' environment and natural resources are currently, and may in the future be,

detrimentally affected by 3M's PFAS pollution and PFAS contamination at, from, and around the

Cordova Facility, as described herein.

        175.     Proven and preliminary remedial techniques exist for cleaning up PFAS m

environmental media and successfully treating drinking water.

        176.     Absent use of remediation and treatment methods, PFAS contamination will

continue to spread through the natural resources and property under the jurisdiction of the State.

Although PFAS are persistent in the environment, PFAS can be successfully remediated or

successfully treated, and impacts to natural resources can be compensated, but at significant

expense.

        17,7. PFAS contamination levels in State natural resources at and around the Cordova

Facility, including surface water, groundwater, and wetlands, typically fluctuate (i.e., increase and

decrease) over time as PFAS moves through water and by other factors that impact hydrology,

such as changes in seasonal precipitation levels. Because PFAS levels can fluctuate.at a single

PFAS contamination site over time, the only way to be certain that PFAS no longer exist in State

natural resources, such as surface water, groundwater, and wetlands, is to remediate or treat the

PFAS.

        178.     The presence and migration of PFAS in State natural resources and property at and

around the Cordova Facility, absent large-scale and costly remediation ai 1 d/or treatment, will

continue indefinitely and will continue to indefinitely threaten such natural resources and

property.
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        179.    Because of the injury PFAS have caused and are causing to the environment and

natural resources under the jurisdiction of the State at and around the Cordova Facility, 3M must

remediate PFAS contamination and restore these natural resources, and the State is entitled to

compensation for interim and pe 1 manent losses to its natural resources, as well as any costs it incurs

in restoring its natural resources.

        180.    The State reserves its right to amend this Complaint as additional evidence of PFAS

contamination comes to light including, but not limited to, PFAS contamination of wildlife, aquatic

life, waters, soils, sediments, and other State natural resources arising from/related to 3M's actions

and omissions in its ownership and operation of the Cordova Facility.

                                           CLAIMS ALLEGED

                              COUNT I - NEGLIGENCE PER SE
                         WATER POLLUTION UNDER SECTION 12(a)
                    OF THE ILLINOIS ENVIRONMENTAL PROTECTION ACT

        181.   The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though fully set folih herein.

        182.       Section 12(a) of the Act, 415.ILCS 5/12(a) (2020), provides that, "[n]o person shall:

(a) cause or threaten or allow the discharge of any contaminants into the environment in any State so

as to cause or tend to cause water pollution in Illinois, either alone or in combination with matter from

other sources, or so as to violate regulations or standards adopted by the Pollution Control Board

under this Act."

        183.       Section 11 of the Act, 415 ILCS 5/11 (2020), provides, in pertinent part, as follows:

        § 11. (a) The General Assembly finds:

       (1) that pollution of the waters of this State constitutes a menace to public health and
       welfare, creates public nuisances, is harmful to wildlife, fish, and aquatic life, impairs
       domestic, agricultural, industrial, recreational, and other legitimate beneficial uses of
       water, depresses property values, and offends the senses;
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        (c) The provisions of this Act authorizing implementation of the regulations
        pursuant to an NPDES program shall not be construed to limit, affect, impair, or
        diminish the authority, duties and responsibilities of the Board, Agency,
        Department or any other governmental agency or officer, or of any unit of local
        government, to regulate and control pollution of any kind, to restore, to protect or
        to enhance the quality of the environment, or to achieve all other purposes, or to
        enforce provisions, set forth in this Act or other State law or regulation.

        184.   Section 3.315 of the Act, 415 ILCS 5/3.315 (2020), provides that a "person" is

"any individual, partnership, co-partnership, firm, company, limited liability company,

corporation, association, joint stock company, trust, estate, political subdivision, state agency, or

any other legal entity, or their legal representative, agent or assigns."

        185.   Defendant, 3M is a corporation, and therefore is a "person" as that term is defined

in Section 3.315 of the Act, 415 ILCS 5/3.315 (2020).

        186.   Section 3.165 of the Act, 415 ILCS 5/3.165 (2020), broadly defines "contaminant"

as "any solid, liquid, or gaseous matter, any odor, or any form of energy, from whatever source."

        187.    PFAS compounds constitute "contaminants" as that term is defined in Section

3.165 of the Act, 415 ILCS 5/3.165 (2020).

        188.   Section 3.545 of Act, 415 ILCS 5/3.545 (2020), broadly defines "water pollution"

as "such alteration of the physical, thermal, chemical, biological or radioactive properties of any

waters of the State, or such discharge of any contaminant into any waters of the State, as will or is

likely to create a nuisance or render such waters harmful or detrimental or injurious to public

health, safety or welfare, or to domestic, commercial, industrial, agricultural, recreational, or

other legitimate uses, or to livestock, wild animals, birds, fish, or other aquatic life."
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          189.   Section 3.550 of the Act, 415 ILCS 5/3.550 (2020), defines "waters" as "all

accumulations of water, surface and underground, natural, and a 1 iificial, public and private, or

parts thereof, which are wholly or partially within, flow through, or border upon this State."

          190.   The Mississippi River and other surface waters, groundwater, and wetlands at and

around the Cordova Facility constitute "waters" as that term is defined in Section 3.550 of the

Act, 415 ILCS 5/3.550 (2020).

          191.   The threatened and actual discharge of PFAS-containing wastewater, stormwater,

and wastewater sludge and other direct and indirect discharges of PFAS and PFAS-containing

substances from the Cordova Facility into the Mississippi River and other surface waters,

groundwater, and wetlands at and around the Cordova Facility tends to cause a nuisance, because

such discharges negatively impact commercial and recreational uses of the Mississippi River and

render (or are likely to render) the Mississippi River, other surface waters, groundwater, and

wetlands at and around the Cordova Facility harmful, detrimental, or injurious to public health,

safety or welfare, or to domestic, commercial, industrial, agricultural, recreational, or other

legitimate uses, or to livestock, wild animals, birds, fish, or other aquatic life, thereby causing or

tending to cause water pollution, as that term is defined in Section 3.545 of the Act, 415 ILCS

5/3.545 (2020).

          192.   By threatening, causing, or allowing the discharge of PFAS-containing wastewater,

stormwater, and wastewater sludge and other direct and indirect discharges of PFAS and PFAS

containing substances from the Cordova Facility into the Mississippi River and other surface

waters, groundwater, drinking water, and wetlands at and around the Cordova Facility, so •as to

cause or tend to cause water pollution, 3M violated Section 12(a) of the Act, 415 ILCS 5/12(a)

(2020).
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         193.    Violations of the pertinent environmental statutes will continue until and unless this

Court grants equitable relief in the form of an immediate and, after trial, permanent injunction.

WHEREFORE, Plaintiff, Donna Deufel requests that this Court enter an Order:

        (a) Finding that 3M violated Section 12(a) of the Act, 415 ILCS 5/12(a) (2020);

        (b)      Enjoining 3M from committing any further violations of Section I 2(a) of the Act, 415

ILCS 5/12(a) (2020);

        (c)      Ordering that 3M take immediate, necessary action to correct its violations of Section

12(a) of the Act, 415 ILCS 5/12(a) (2020), which would include, without limitation, the investigation

and remediation of all PFAS contamination at and around the Cordova Facility;

        (d)      Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against 3M

for each of its violations of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($ I 0,000.00) for each day of violation;

        (e)      Ordering 3M, pursuant to 415 ILCS 5/42(f) (2020) to pay all costs, including

oversight, sampling, and clean-up costs, and attorney, expert witness, and consultant fees expended by

Plaintiff in its pursuit of this action; and

        (f) granting such other and further relief as this Court deems appropriate and just.

                        COUNT Il - NEGLIGENCE PER SE
          CREATING A WATER POLLUTION HAZARD UNDER SECTION 12(d) OF
                THE ILLINOIS ENVIRONMENTAL PROTECTION ACT

        194.     The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though_fully set forth herein.

        195.     Section 12(d) of the Act, 415 ILCS 5/12(d) (2020), provides as follows: "No person

shall: (d) deposit any contaminants upon the land iii-such place and manner so as to create a water

pollution hazard."
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        196.     Section 11 of the Act, 415 ILCS 5/11 (2020), provides, in pertinent part, as follows:

        § 11. (a) The General Assembly finds:

       (I) that pollution of the waters of this State constitutes a menace to public health
       and welfare, creates public nuisances, is harmful to wildlife, fish, and aquatic life,
       impairs domestic, agricultural, industrial, recreational, and other legitimate
       beneficial uses of water, depresses property values, and offends the senses;

                                *              *

       (c) The provisions of this Act authorizing implementation of the regulations
       pursuant to an NPDES program shall not be construed to limit, affect, impair, or
       diminish the authority, duties and responsibilities of the -Board, Agency,
       Department or any other governmental agency or officer, or of any unit of local
       government, to regulate and control pollution of any kind, to restore, to protect or
       to enhance the quality of the environment, or to achieve all other purposes, or to
       enforce provisions, set forth in this Act or other State law or regulation.

        197. By depositing PFAS and PFAS-containing waste on the land through sludge

disposal and land application, and through suspected leaks and spills of PFAS through the

manufacturing process, each a "contaminant" defined by Section 3.165 of the Act, 415 1LCS

5/3.165 (2020), in a place and manner that the contaminants could be carried by storm water or

other conveyance into surface waters, including but not limited to the Mississippi River, and/or

into the groundwater, 3M created a water pollution hazard at and around the Cordova Facility and

thereby violated Section 12(d) of the Act, 415 ILCS 5/12(d) (2020).

       198.     Violations of the pertinent environmental statutes will continue until and unless

this Court grants equitable relief in the form of an immediate and, after trial, permanent

injunction.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

       (a) Finding that 3M violated Section 12(d) of the Act, 415 ILCS 5/12(d) (2020);

       (b) Enjoining 3M from any fu 1 1 her violations of Section 12(d) of the Act, 415 1LCS
           5/12(d) (2020);
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           (c)     Ordering that 3M take immediate, necessary action to correct the violation of Section

12(d) of the Act, 415 ILCS 5/12(d) (2020), which would include, without limitation, the investigation

and remediation of all PFAS contamination at and around the Cordova Facility;

           (d)     Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against 3M

for each violation of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($10,000.00) for each day of violation;

           (e)     Ordering 3M, pursuant to 415 ILCS 5/42(f) (2020) to pay all costs, including

oversight, sampling, and clean-up costs, and attorney, expert witness, and consultant fees expended

by the Plaintiff in its pursuit of this action; and

        (f) Granting such other relief as this Court deems appropriate and just.

                    COUNT III - NEGLIGENCE PER SE
 DISCHARGING WITHOUT AN NPDES PERMIT IN VIOLATION OF SECTION 12(1) OF
            THE ILLINOIS ENVIRONMENTAL PROTECTION ACT

        199.       The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though fully set forth herein.

        200.       Section 12(:0 of the Act, 415 ILCS 5112(:f) (2020), provides in pertinent part, as

follows:

        No person shall : (f) Cause, threaten or allow the discharge of any contaminant into
        the waters of the State, as defined herein, including but not limited to, waters to any
        sewage works, or into any well or from any point source within the State, without an
        NPDES permit for point source discharges issued by the Agency under Section 39(b)
        of this Act, or in violation of any tern 1 or condition imposed by such permit, or in
        violation of any NPDES permit filing requirement established under Section 39(b), or
        in violation of any regulations adopted by the Board or of any order adopted by the
        Board with respect to the NPDES program.

        201.       Section 309.102(a) of the IPCB Regulations, 35 I11. Adm. Code 309.102(a), provides

as follows: "Except as in compliance with the provisions of the Act, Board regulations, and the CWA,

and the provisions and conditions of-the NPDES permit issued to the discharger,
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 the discharge of any contaminant or pollutant by any person into the waters of the State from a point

 source or into awe ll shall be unlawful."

         202.    By discharging PFAS that were not included in the Cordova Facility's NPDES Permit

 into the Mississippi River from the Outfalls listed in its NPDES Permit, 3M violated Section

 309.102(a) of the IPCB Regulations, 35 Ill. Adm. Code 309.102(a).

         203.    By threatening or al lowing the discharge of any contaminant into the Mississippi

 River from point sources not authorized in the Cordova Facility's NPDES Pennit, 3M fmiher violated

 Section 309.102(a) of the IPCB Regulations, 35 Ill. Adm. Code 309.102(a).

         204.     By violating Section 309.102(a) of the TPCB Regulations, 35 I11. Adm. Code

 309.102(a), 3M thereby violated Section 12(f) of the Act, 415 TLCS 5/12(f) (2020).

         205.    Violations of the pe 1 iinent environmental statutes will continue until and unless this

 Court grants equitable relief in the form of an immediate and, after trial, permanent injunction.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

         (a)     Finding that 3M violated Section 5/12(f) of the Act, 415 ILCS 5/12(f) (2020), and

 Section 309.102(a) of the IPCB Regulations, 35 Ill. Adm. Code 309.102(a);

         (b)     Enjoining 3M from any further violations of Section 5/1 2(t) of the Act, 415 ILCS

 5/12(f) (2020), and Section 309.102(a) of the IPCB Regulations, 35 Ill. Adm. Code 309.102(a);

        (c)      Ordering that 3M take immediate, necessary action to correct its violations of Section

 5/12(f) of the Act, 415 ILCS 5/12(O (2020), and Section 309.102(a) of the IPCB Regulations, 35 III.

 Adm. Code 309.102(a), which would include, without limitation, the investigation and remediation of

 all PFAS contamination at and around the Cordova Facility;
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        (d)     Assessing a civil penalty of Ten Thousand Dollars ($10,000.00) against 3M for

each of its violations of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($10,000.00) for each day of violation;

        (e)     Ordering 3M, pursuant to 415 ILCS 5/42(f) (2020) to pay all costs, including

oversight, sampling, and clean-up costs, and attorney, expert witness, and consultant fees

expended by Plaintiff in its pursuit of this action; and

        (f) Granting such other and further relief as this Court deems appropriate and just.

                              COUNT IV - NEGLIGENCE PER SE
                             LIABILITY UNDER 415 ILCS 5/22.2(t)

        206.    The Plaintiff repeats, realleges, and incorporates by reference each allegation•

contained in Paragraphs 1-180, above, as though fully set forth herein.

        207.    Section 22.2(f) of the Act, 415 ILCS 5/22.2(f) (2020), provides that certain parties

"shall be liable for all costs of removal or remedial action incurred by the State of Illinois or any

unit of local government as a result of a release or substantial threat of a release of a hazardous

substance or pesticide."•

       208. One party that can be held liable is "the owner and operator of a facility or vessel

from which there is a release or a substantial threat of a release of a hazardous substance or

pesticide." 415 ILCS 5/22.2(O(1) (2020).

       209.     "Remove" or "removal" is defined in 415 ILCS 5/3.405 (2020) as:

       the cleanup or removal of released hazardous substances from the environment,
       actions as may be necessary taken in the event of the threat of release of
       hazardous substances into the environment, actions as may be necessary to
       monitor, assess, and evaluate the release or threat of release of hazardous
       substances, the disposal of removed material, or the taking of other actions as may
       be necessary to prevent, minimize, or mitigate damage to the public health or
       welfare or the environment, that may otherwise result from a release or threat of
       release. The tenn includes, in addition, without being limited to, security fencing
       or other measures to limit access, provision of alternative water supplies,
       temporary evacuation and housing
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        of threatened individuals, and any emergency assistance that may be provided
        under the Illinois Emergency Management Agency Act or any other law.

        210.    "Remedial action" is defined in 415 ILCS 5/3.400 (2020) as:

        those actions consistent with permanent remedy taken instead of or in addition to
        removal actions in the event of a release or threatened release of a hazardous
        substance into the environment, to prevent or minimize the release of hazardous
        substances so that they do not migrate to cause substantial danger to present or
        future public health or welfare or the environment. The ternl includes, but is not
        limited to, such actions at the location of the release as storage, confinement,
        perimeter protection using dikes, trenches, or ditches, clay cover, neutralization,
        cleanup of released hazardous substances or contaminated materials, recycling or
        reuse, diversion destruction, segregation of reactive wastes, dredging or
        excavations, repair or replacement of leaking containers, collection of leachate
        and runoff, onsite treatment or incineration, provision of alternative water
        supplies, and any monitoring reasonably required to assure that such actions
        protect the public health and welfare and the environment. The term inc.ludes the
        costs of permanent relocation ofresidents and businesses and community facilities
        where the Governor and the Director determine that, alone or in combination with
        other measures, such relocation is more cost-effective than and environmentally
        preferable to the transportation, storage, treatment, destruction, or secure
        disposition offsite of hazardous substances, or may otherwise be necessary to
        protect the public health or welfare. The term includes offsite transport of
        hazardous substances, or the storage, treatment, destmction, or secure disposition
        offsite of such hazardous substances or contaminated materials.

        211.   "Release" is defined broadly as "any spilling, leaking, pumping, pouring, emitting,

emptying, discharging, injecting, escaping, leaching, dumping, or disposing into the environment

  " 415 ILCS 5/3.395 (2020).

        212.    "Hazardous substance", as defined in 415 ILCS 5/3.215 (2020), includes hazardous
                wastes.

        213.   "Hazardous waste" is defined broadly in 415 1LCS 5/3.220 (2020).

       214.    The definition includes "a waste, or combination of wastes, which because of its

quantity, concentration, or physical, chemical, or infectious characteristics may cause or

significantly contribute to an increase in mortality or an increase in serious, irreversible, or

incapacitating reversible illness."


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          215.   PFAS are hazardous wastes, as that term is broadly defined in 415 ILCS 5/3.220

(2020).

          216. Because PFAS is a "hazardous waste", as that telm is defined in 415 ILCS 5/3.220

(2020), it is also a "hazardous substance", as that term is defined in 415 ILCS 5/3.215 (2020).

          217. The leaking, emitting, discharging, escaping, leaching, dumping and disposal of

PFAS into the environment, a hazardous substance, constitutes a "release" as that term is defined

in 415 ILCS 5/3.395 (2020).

          218.   The Illinois EPA has established Health Advisory Levels for six PFAS compounds.

          219. As a result of the groundwater sampling conducted by 3M, US EPA, and the

Illinois EPA, the State has discovered PFAS at the Cordova Facility, which has or is likely to

require "removal" as that term is defined in 415 ILCS 5/3.405 (2020), and "remedial action" as

that telm is defined in 415 ILCS 5/3.400 (2020), at and around the Cordova Facility.

          220. The levels of PFAS impacting surface water, groundwater, drinking water,

wetlands, soils, and sediments at and around the Cordova Facility exceed the Illinois EPA's

current Health Advisory Levels and proposed groundwater quality standards.

          221. Considering PFAS' chemical characteristics, fate in the. environment, dose

response, toxicity, and adverse impacts on natural resources, the concentrations and quantities of

PFAS in surface water, groundwater, drinking water, wetlands, soil, and sediments at and around

the Cordova Facility may cause or significantly contribute to an increase in mortality or an

increase in serious, irreversible, or incapacitating reversible, illness and pose an unacceptable risk

of substantial danger to present or future public health or welfare or the environment.
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        222.     As a result of releases and substantial threats of a release of a hazardous substance, the

State has incurred and is continuing to incur removal and remedial costs at and around the Cordova

Facility, including investigation, monitoring, and enforcement costs.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

        (a)      Finding that 3M violated Section 22.2(f) of the Act, 415 ILCS 5/22.2(f) (2020);

        (b)      Ordering 3M to compensate the State for all past and future natural resource damages,

loss-of use damages, response activity costs, costs of investigation, costs of testing and monitoring,

costs of providing water from an alternate source, costs of installing and maintaining an early warning

system to detect PFAS contamination before it reaches wells, costs of remediating PFAS and other

hazardous substances from natural resources at and around the Cordova Facility including

groundwater, surface waters, soils, sediments, and other natural resources, costs of remediating PFAS

and hazardous substance contamination at and around the Cordova Facility, any other costs or other

expenditures incurred to address PFAS contamination and injury at and around the Cordova Facility,

and interest on the damages according to law;

        (c)     Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against 3M

for each of its violation of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($10,000.00) for each day of violation;

        (d) Ordering 3M to pay all applicable civil fines; and

        (e) Granting such other and further relief as this Court deems appropriate and just.

                   COUNTY V - NEGLIGENCE PER SE
   AIR POLLUTION UNDER SECTION 9(a) OF THE ILLINOIS ENVIRONMENTAL
                          PROTECTION ACT

        223.    The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though fully set forth herein.

       224.      Section 9(a) of the Act, 415 ILCS 5/9(a) (2020), provides as follows:
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  No person shall:
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        a. Cause or threaten or allow the discharge or emission of any contaminant into the
        environment in any State so as to cause or tend to cause air pollution in Illinois, either
        alone or in combination with contaminants from other sources, or so as to violate
        regulations or standards adopted by the Board under this Act;

        225.     Section 201.141 of the Illinois Pollution Control Board ("Board") Air Pollution

Regulations, 35 III. Adm. Code 201.141 provides as follows:

        No person shall cause or threaten or allow the discharge or em 1 ss1011 of any
        contaminant into the environment in any State so as, either alone or in combination
        with contaminants from other sources, to cause or tend to cause air pollution in
        Illinois, or so as to violate the provisions of this Chapter, or so as to prevent the
        attainment or maintenance of any applicable ambient air quality standard.

        226.     Section 3.165 of the Act, 415 ILCS 5/3.165 (2020), contains the following definition:

        "CONTAMINANT" is any solid, liquid, or gaseous matter, any odor or any fom 1 of
        energy, from whatever source.

        227.     PFAS compounds are each a "contaminant" as the te 1 m is defined in Section 3.165 of

the Act, 415 ILCS 5/3.165 (2020).

        228.     Section 3.115 of the Act, 415 ILCS 5/3.115 (2020), provides the following definition:

       "Air pollution" is the presence in the atmosphere of one or more contaminants in
       sufficient quantities and of such characteristics and duration as to be injurious to
       human, plant, or animal life, to health, or to propel iy, or to unreasonably interfere
       with the enjoyment of life or property.

        229.     The production of PFAS results in air emmissions from PFAS manufacturing

facilities, such as 3M's PFAS production at the Cordova Facility.

        230.     The emission of PFAS resulting from the manufacture of PFAS compounds and other

products that are produced from PFAS compounds at the Cordova Facility, which injured and

continue to injure human, plant, aquatic, and/or animal life, and human, plant, aquatic, and/or animal

health, or which have unreasonably interfered and continue to interfere with the enjoyment
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               perty, constitutes air pollution, as defined in Section 3.115 of the Act, 415 ILCS

5/3.115 (2020).

        231.     Defendant 3M, by its actions as alleged herein, has violated Section 9(a) of the Act,

415 ILCS 5/9(a) (2020), and Section 201.141 of the Board Regulations, 35 Ill. Adm. Code

201.141.

        232.    Violations of the pertinent environmental statutes and regulations will continue

until and unless this Court grants equitable relief in the folm of an immediate and, after trial,

permanent injunction.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

        (a) Finding that 3M violated Section 9(a) of the Act, 415 ILCS 5/9(a) (2020), and Section

201.141 of the Board Regulations, 35 Ill. Adm. Code 201.141;

        (b)     Enjoining 3M from committing any further violations of Section 9(a) of the Act,

415 ILCS 5/9(a) (2020), and Section 201.141 of the Board Regulations, 35 111. Adm. Code

201.141;

        (c)     Ordering that 3M take immediate, necessary action to correct its violations of

Section 9(a) of the Act, 415 ILCS 5/9(a) (2020), and Section 201.141 of the Board Regulations,

35 Ill. Adm. Code 201.141, which would include, without limitation, the investigation and

remediation of all PFAS contamination at and around the Cordova Facility;

        (d)     Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against

3M for each of its violation of the Act and pertinent regulations, and an additional civil penalty of

Ten Thousand Dollars ($10,000.00) for each day of violation;
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        (e)     Ordering 3M, pursuant to 415 ILCS 5/42(t) (2020) to pay all costs, including

oversight, sampling, and clean-up costs, and attorney, expert witness, and consultant fees

expended by the Plaintiff in its pursuit of this action; and

        (f) Granting such other and further relief as this Court deems appropriate and just.

                           COUNT VI - NEGLIGENCE PER SE
                     RESTORATION OF AQUATIC LIFE AND WILDLIFE
                        UNDER THE FISH AND WILDLIFE CODES

       233.     The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though fiilly set forth herein.

        234.     Section 1-130 of the Fish Code, 515 ILCS 5/1-130 (2020), provides as follows:

       Cooperation with EPA. The Department is authorized to cooperate with the
       Environmental Protection Agency of the State of Illinois in making pollution
       investigations and reports pollution investigations.

       235.      Section 1.5 of the Wildlife Code, 520 ILCS 5/1.5 (2020), provides as follows:

       The Department is authorized to cooperate with the Environmental Protection
       Agency of the State of Illinois in making pollution investigations and making
       reports thereof.

       236. Section 1.50 of the Fish Code, 515 ILCS 5/1-150 (2020), provides, in

pertinentpali, as follows:

       Preservation of aquatic life; actions to enforce Code. The Department shall take
       all measures necessary for the conservation, distribution, introduction, and
       restoration of aquatic life. * _* * The Department shall also bring or cause to be
       brought actions and proceedings, in the name and by the authority of the People of
       the State of Illinois, to enforce this Code, including administrative rules, and to
       recover any and all fines and penalties provided for. * *

       237.     Section 1.20 of the Fish Code, 515 ILCS 5/1-20 (2020), provides in pertinent pati,

the following definition:

       "Aquatic life" means all fish, mollusks, crustaceans, algae, aquatic plants, aquatic
       invertebrates, and any other aquatic animals or plants that the Department
       identifies in rules adopted after consultation with biologists, zoologists, or other
       wildlife experts. * * *
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        238.    Section 5-5 of the Fish Code, 515 ILCS 5/5-5 (2020), provides, in pertinent part,

as follows:

        if any person causes any waste, sewage, thermal effluent, or any other pollutant to
        enter into, or causes or allows pollution of, any waters of this State so as to kill
        aquatic life, the Department, through the Attorney General, may bring an action
        against that person and recover the value of and the related costs in determining
        the value of the aquatic life destroyed by the waste, sewage, them 1 al effluent, or
        pollution. Any money so recovered shall be placed into the Wildlife and Fish
        Fund in the State Treasury.

        239.    Section 1-70 of the Fish Code, 515 ILCS 5/1-70 (2020), provides the following

definition:

        "Person" includes the plural "persons", females as well as males, and shall extend
        and be applied to clubs, associations, corporations, firms; and partnerships as well
        as individuals.

        240. 3M, a corporation, is a "person" as that term is defined in Section 1-70 of the

Code, 515 ILCS 5/1-70 (2020).

        241.    Section 1-10 of the Wildlife Code, 520•ILCS 5/1-10 (2020), provides, in pertinent

part, as follows:

        The Department shall take all measures necessary for the conservation,
        distribution, introduction and restoration or birds and mammals. The Department
        also shall bring or cause to be brought, actions and proceedings, in the name, and
        by the authority, of the People of the State of Illinois, to enforce the provisions of
        this Act, including administrative rules, and to recover any and all fines and
        penalties hereinafter provided for. * * *

        242.    By causing or allowing the release of PFAS from the Cordova Facility, 3M

adversely affected the aquatic life, wildlife, habitat, and natural resources of the Mississippi River

corridor and its watershed system at and around the Cordova Facility ("Mississippi River

System").
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        243.     As a result of its conduct as alleged herein, 3M is thus liable for the value of the

 adverse impact on aquatic life and the related costs in determining the value of the aquatic life

 adversely impacted by the release of PFAS, pursuant to Section 5-5 of the Fish Code, 515 ILCS

 5/5-5 (2020).

        244.      Pursuant to Section 1-150 of the Fish Code, 515 ILCS 5/1-150 (2020), and Section

 1.10 of the Wildlife Code, 520 ILCS 5/1-10 (2020), 3M is also liable for the restoration of the

 aquatic life in and the wildlife dependent upon the Mississippi River System at and around the

 Cordova Facility.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

        (a)      Finding that 3M has caused the death and destruction of aquatic life in the

 Mississippi River System at and around the Cordova Facility, has adversely affected the aquatic

 life and natural resources present in the Mississippi River System at and around the Cordova

Facility, and has adversely affected the wildlife dependent upon the Mississippi River system at

and around the Cordova Facility;

        (b)      Ordering 3M to pay the Illinois Department of Natural Resources to conduct an

assessment of injury and damage determination relative to restoring the aquatic life, wildlife,

habitat, and other natural resources lost or destroyed in the Mississippi River System at and

around the Cordova Facility and to compensate the Illinois Depmiment of Natural Resources for

injury and damage to aquatic life, wildlife, habitat, and other natural resources lost or destroyed

in the Mississippi River System at and around the Cordova Facility pursuant to Section 1-150 of

the Fish Code, 515 ILCS 5/1-150 (2020), and Section 1-10 of the Wildlife Code, 520 ILCS

5/1-10 (2020);

        (c)      Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against

3M for each of its violation of the Act and pertinent regulations, and an additional civil penalty of
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Ten Thousand Dollars ($10,000.00) for each day of violation; and
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        (d) Granting such other and further relief as this comi deems appropriate and just.

                                              COUNT VII
                                             NEGLIGENCE
        245.      The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though fully set forth herein.

        246. 3M had a duty to the State to exercise due care in the manufacture, disposal,

discharge, and emission of PFAS, waste containing PFAS, and products containing PFAS.

        247.      3M breached its duty of care in that it negligently, carelessly, and/or recklessly.

manufactured and disposed of, discharged and emitted PFAS at and around the Cordova Facility.

3M directly and proximately caused PFAS to contaminate the property under the jurisdiction of

the State and its surface waters, groundwater, drinking water, wetlands, aquatic life, wildlife,

marine resources, soil, sediment, and other natural resources, thereby causing a threat to human

health and the environment, despite its years-long knowledge that PFAS chemicals persist in the

environment and are harmful to human health and the environment.

       248. As a direct and proximate result of 3M's acts and omissions as alleged herein, the

State has suffered monetary losses and damages in amounts to be proven at trial.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

       (a)     Finding that 3M's actions alleged herein constituted, and continue to constitute,

negligent acts;

       (b)     Holding 3M liable for all past and future natural resource damages, loss-of use

damages, response activity costs, costs of investigation, costs of testing and monitoring, costs of

providing water from an alternate source, costs of installing and maintaining an early warning

system to detect PFAS before it reaches wells, costs of remediating PFAS from natural resources
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at and around the Cordova Facility including groundwater, surface waters, soils, sediments, and other

natural resources, costs of remediating PFAS contamination at and around the Cordova Facility, any

other costs or other expenditures incurred to address PFAS contamination and injury at and around

the Cordova Facility, interest on the damages according to law, any applicable civil penalties, and any

other relief necessary to remedy PFAS contamination at and around the Cordova Facility;

        (c)      Ordering 3M to immediately undertake the necessary action that will result in a final

and permanent abatement of the damage caused by its negligent acts, which would include, without

limitation, the investigation and remediation of all PFAS contamination at and around the Cordova

Facility;

        (d)      Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against 3M

for each of its violation of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($10,000.00) for each day of violation;

        (e)      Ordering 3M to pay all costs, including oversight, sampling, assessment, restoration,

and clean-up costs, and attorney, expert witness, and consultant fees expended by Plaintiff in its

pursuit of this action; and

        (f) Granting such other and further relief as this Court deems appropriate and just.

                                             COUNT VIII
                                              TRESPASS

        249.     The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though fully set forth herein.

        250.     The PFAS manufactured, disposed of, discharged, and emitted by 3M affecting the

State's property and its surface waters, groundwater, drinking water, wetlands, aquatic life, wildlife,

marine resources, soil, sediment, and other natural resources constitutes an unauthorized direct and

immediate physical intrusion of property of which the State is a trustee.
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   251.   The trespass of PFAS alleged herein has varied over time and has not ceased.
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        252. PFAS that 3M disposed of, discharged, emitted, released, and/or otherwise handled,

supplied, and/or used continues to be located on or in the State's property and its surface water,

groundwater, drinking water, wetlands, aquatic life, wildlife, marine resources, soil, sediment, and

other natural resources.

        253. 3M knew with substantial certainty that its acts would contaminate the State's property

and its surface waters, groundwater, drinking water, wetlands, aquatic life, wildlife, maimne resources,

soil, sediment, and other natural resources.

        254.    3M is liable for trespass.

        255.    The Plaintiff has not consented to and does not consent to the trespass alleged herein.

        256. Accordingly, the Plaintiff is bringing this action for the invasion of its exclusive

possessory interests in the State's natural resources, in addition to its interest in the integrity of the

State's natural resources.

        257.    As long as property and natural resources under the jurisdiction of the State remain

contaminated due to 3M's conduct, the trespass continues.

        258. As a direct and proximate result of 3M's acts and omissions as alleged herein, the

Plaintiff has suffered monetary losses and damages in an amount to be proven at trial.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

        (a) Finding that 3M's actions alleged herein constituted, and continue to constitute, a

trespass;
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        (b) Holding 3M liable for all past and future natural resource damages, loss-of use

• damages, response activity costs, costs of investigation, costs of testing and monitoring, costs of

providing water from an alternate source, costs of installing and maintaining an early warning system

to detect PFAS before it reaches wells, costs of remediating PFAS from natural resources including

groundwater, surface waters, soils, sediments, and other natural resources, costs of remediating PFAS

contamination at and around the Cordova Facility, any other costs or other expenditures incurred to

address PFAS contamination and injury at and around the Cordova Facility, interest on the damages

according to law, any applicable civil penalties, and any other relief necessary to remedy PFAS

contamination at and around the Cordova Facility;

        (c)    Ordering 3M to immediately undertake the necessary action that will result in a final

and permanent abatement of the trespass, which would include, without limitation, • the investigation

and remediation of all PFAS contamination at and around the Cordova Facility;

        (d)    Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against 3M

for each of its violation of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($10,000.00) for each day of violation;

        (e) Ordering 3M to pay all costs, including oversight, sampling, assessment, restoration.,

and clean-up costs, and attorney, expert witness, and consultant fees expended by Plaintiff in its

pursuit of this action; and

        (0 Granting such other and further relief as this Court deems appropriate and just.

                                      COUNT IX
                              COMMON LAW PUBLIC NUISANCE

        259. The Plaintiff repeats, realleges, and incorporates by reference each allegation contained

in Paragraphs 1-180, above, as though fully set forth herein.

        260. The Illinois Constitution provides the People of the State of Illinois a common right to
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a healthful environment. I11. Const. art XI, sec. I (1970).

        261. 3M, by its actions, caused an unreasonable and substantial prejudice to the public

health and welfare and the environment. To wit, by its conduct, alleged herein, 3M has, through
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its actions, manufactured, disposed of, discharged, and emitted PFAS in a way that has the caused the

pollution of the surface water, groundwater, drinking water, wetlands soils, and sediments at and

around the Cordova Facility including, but not limited to the Mississippi River System.

        262.    These actions have thereby threatened harm to area residents and interfered with their

use and enjoyment of the environment and their homes and other prope 1 iies.

        263.    As a consequence of 3M's actions as alleged herein, 3M has created and maintained,

and continues to create and maintain, a public nuisance at common law.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

        (a) Finding that 3M's actions alleged herein constituted a common law public nuisance;

        (b) Enjoining 3M from further acts constituting a common law public nuisance;

        (c)     Ordering 3M to immediately undertake the necessary action that will result in a final

and permanent abatement of the common law public nuisance, which would include, without

limitation, the investigation and remediation of all PFAS contamination at and around the Cordova

Facility and assessment and restoration of impacted natural resources;

        (d)    Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against 3M

for each of its violation of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($10,000.00) for each day of violation;

        (e)    Ordering 3M to pay all costs, including oversight, sampling, assessment, restoration,

and clean-up costs, and attorney, expert witness, and consultant fees expended by Plaintiff in its

pursuit of this action; and

        (f) Granting such other and familiar relief as this Court deems appropriate and just.
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                                  COUNTX
                 COMMON LAW PROHIBITION ON UNJUST ENRICHMENT
        264. The Plaintiff repeats, realleges, and incorporates by reference each allegation

contained in Paragraphs 1-180, above, as though fully set forth herein.

        265. 3M has knowingly and unjustly retained a benefit to the Plaintiffs detriment.

        266. 3M's retention of the benefit violates the fundamental principles of justice, equity,

and good conscience.

        267. By continuing to manufacture and dispose of, discharge, and emit PFAS

contaminated water, waste, and air emissions, despite the fact that 3M was aware that PFAS was

hazardous to human health and the environment, 3M has unjustly enriched itself at the Plaintiffs

expense.

        268.   Because of 3M's failure to make the plaintiff aware of the harmful nature of PFAS,

and 3M's manufacture and disposal of PFAS at the Cordova Facility, 3M obtained enrichment it

would not have otherwise obtained.

        269.    The enrichment was without justification and the plaintiff lacks a remedy provided
                by law.

        270.   Unjust enrichment arises not only where an expenditure by one party adds to the

property of another, but also where the expenditure saves the other from expense or loss.

       271.    To address PFAS contamination and the related property damage and personal

injury the Plaintiff has incurred, and continues to incur, substantial costs in treating illnesses, due

to PFAS contamination at and from the Cordova Facility.
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        272.    3M has received a benefit from the State's response activities because 3M should bear

the cost of investigating and cleaning up the PFAS contamination caused by or related to the

manufacture, use, and disposal, discharge, and emission of PFAS and PFAS-containing products at

the Cordova Facility.

        273.    3M's misconduct alleged in this case does not concern a discrete event or discrete

emergency of the sort that the Plaintiff would reasonably expect to occur and is not part of the normal

and expected costs of the Plaintiffs existence. The Plaintiff alleges wrongful acts which are neither

discrete nor of the sort that can reasonably be expected.

        274.    The principles of justice and established common law require 3M to reimburse the

State for performing a duty properly owed by 3M as a result of its conduct, as alleged herein.

WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

        (a)     Awarding compensatory damages in an amount sufficient to fairly and completely

compensate the plaintiff for all damages;

        (b)     Assessing a civil penalty exceeding Fifty Thousand Dollars ($50,000.00) against 3M

for each of its violation of the Act and pertinent regulations, and an additional civil penalty of Ten

Thousand Dollars ($10,000.00) for each day of violation;

        (c)     Awarding disgorgement or compensation for 3M's unjust enrichment of profits which

directly result from the wrongful acts described above;

       (d)      Entering a declaratory judgment requiring 3M to abate the statutory violations alleged

above, trespass, and public nuisance caused by the PFAS contamination; and

       (e) Granting such other and further relief as this Court deems appropriate and just.
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                                                          COUNT XI

                                                  Personal Injury to Plaintiff

275.    Plaintiff restates, realleges, and incorporates by reference each allegation contained in

        Paragraphs 1-180, above.

276.    Exposure to PFAS significantly increase the risk of colon cancer.

277.    Plaintiff developed Moderately Differentiated Adenocarcinoma of the Sigmoid Colon that was

        discovered in 2022.

278.    Plaintiff underwent a exploratory laparotomy with a sigmoidectomy and low anterior resection

        for perforated rectal cancer and feculent peritonitis in July of 2022.

279.    Plaintiff underwent numerous follow-up surgeries for colostomy revision, port placement, and

        hernia repairs to name a few.

280.    Plaintiff underwent months of chemotherapy.

281.    Plaintiff has suffered significant financial harm from the colon cancer treatment.

       282. Plaintiff has suffered significant emotional harm.

       284. Plaintiff has struggled to maintain a healthy body image since the treatment of her colon

       cancer.

       284. This battle to maintain a healthy body image has impacted all aspects of her life.




                                                    COUNT XII


         Loss Of Use and Enjoyment of Properties As Well As Diminution In Value of Property
                                              Values

                 285. Plaintiff restates, realleges, and incorporates by reference each allegation contained

       in Paragraphs 1-284, above.
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           286. 21313 River road north Cordova, Il is owned by the plaintiff.


           287. This property has tested positive for PFAS in the well.


           288. This property also has diminished in value since this was discovered.


          289. The issues with the PFAS contamination must be disclosed when attempting to

  sell the property.


          290. Banks will not finance a property with environmental contamination until it can be

  proven that the contamination has been remediated.


          291. This substantially limits the ability to sell either of the above property.



  WHEREFORE, Plaintiff, Donna Deufel, respectfully requests that this Court enter an Order:

(a) Awarding compensatory damages in an amount sufficient to fairly and completely compensate the

   plaintiff for all damages in an amount exceeding $50,000;

(b) Granting such other and further relief as this Court deems appropriate and just.


                                         REOUEST FOR RELIEF

   WHEREFORE, in addition to the relief requested in each individual Cause of Action listed

   above, Plaintiff, Donna Deufel, seeks judgment in its favor and against 3M for:

            A. Compensatory damages arising from PFAS contamination and injury of natural

                 resources and property under the jurisdiction of the State, including groundwater,

                 surface waters, wetlands, drinking water supplies, biota, wildlife, aquatic life, and

                 their associated soils, sediments, and uses, and other State natural resources and

                property, according to proof, including, but not limited to:
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    (i)    natural resource damages;

    (ii)   loss-of use damages;

    (iii) past and future response activity costs;

    (iv) costs of investigation;

    (v)    costs of testing and monitoring;

    (vi) costs of providing water from an alternate source;

    (vii) costs of installing and maintaining approved drinking water treatment systems;

    (viii) costs of installing and maintaining an early warning system to detect PFAS

           before it reaches wells;

    (ix) costs of remediating PFAS from natural resources and restoration of these

           natural resources, including groundwater, surface waters, wetlands, soils,

           sediments, and other natural resources;

    (x)    remedial action at and around the Cordova Facility, including cleanup of PFAS

           contamination;
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      (xi) any other costs or other expenditures incurred to address PFAS contamination

           and injury at and around the Cordova Facility; and

     (xii) interest on the damages according to law;

  B. Injunctive relief to address past, present, and future PFAS contamination by:

     a.    ordering 3M to implement a program of ongoing public outreach and

           information-sharing efforts to provide effective communication to the public

           and local units of government regarding the status and progress of response

           activities related to 3M's releases of PFAS into the environment;

     b.    ordering 3M to institute protective measures to prevent endangerment to human

           health and the environment including,. but not limited to: (a) sampling for PFAS

           in drinking water using U.S. EPA-approved Method 537 version 1.1, as written,

           including any modifications allowed therein, or any subsequent U.S. EPA

           approved method; (b) connection to municipal drinking water supplies; and (c)

           provision and maintenance of drinking water treatment systems, including

           regular sampling; and

     c.    ordering 3M to complete the investigation, characterization, and remediation of

           the PFAS released into the environment from its manufacturing processes and

           disposal practices, identify pathways of exposure to natural resources, restore

           natural resources that have been damaged or impacted by PFAS, and analyze the

           impact of PFAS on drinking water wells, surface waters, stream biota,

           groundwater, soils, sediments, flora, and fauna, including sportfish and other

           wildlife consumed by the public, subject to the approval of the State;
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  C. Statutory penalties, fines, and any other relief available under the Illinois Environmental

      Protection Act;

  D. Costs (including reasonable attorney fees, court costs, and other expenses of litigation);

  E. Prejudgment interest; and

  F. Any other and further relief as the Court deems just, proper, and equitable.




                                                                      Donna Deufel, Plaintiff




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